                Case 3:15-cv-02106-RS Document 1 Filed 05/11/15 Page 1 of 14

     ANTHONY ALEXIS (DC Bar #384545)
 1   DEBORAH MORRIS (Admitted to the NY Bar)
 2   MICHAEL G. SALEMI (IL Bar #6279741)
     MELANIE HIRSCH (DC Bar #989310)
 3   EDWARD KEEFE (DC Bar #490713)
 4   Melanie.Hirsch@cfpb.gov
     1700 G Street NW
 5   Washington, DC 20552
     Phone: 202-435-7944
 6
     Fax: 202-435-7722
 7
     Attorneys for Plaintiff
 8
     Consumer Financial Protection Bureau
 9
10                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
12 CONSUMER FINANCIAL
     PROTECTION BUREAU,
13
                               Plaintiff,       Case No. ______________
14                    v.
                                                COMPLAINT
15 NATIONWIDE BIWEEKLY
16 ADMINISTRATION, INC., LOAN
     PAYMENT ADMINISTRATION
17 LLC, AND DANIEL S. LIPSKY,
18                          Defendants.
19
20
           The Consumer Financial Protection Bureau (“Bureau”) alleges the following against
21
     Nationwide Biweekly Administration, Inc., Loan Payment Administration LLC, and their
22
     founder and president, Daniel S. Lipsky (collectively, “Defendants”).
23
                                            INTRODUCTION
24
           1.      The Bureau brings this action under the Consumer Financial Protection Act of
25
     2010 (“CFPA”), 12 U.S.C. §§ 5531(a), 5536(a), 5564(a), 5565, and the Telemarketing and
26
     Consumer Fraud and Abuse Prevention Act, 15 U.S.C. § 6105(d), and its implementing
27
     regulation, the Telemarketing Sales Rule (“TSR”), 16 C.F.R. §§ 310.1-9 (2010). The Bureau
28

                                                    1
     Complaint
                 Case 3:15-cv-02106-RS Document 1 Filed 05/11/15 Page 2 of 14


 1   seeks to obtain permanent injunctive relief, restitution, civil money penalties, and other relief

 2   as set forth below.

 3                                           JURISDICTION

 4          2.      This Court has subject-matter jurisdiction over this matter because it is brought

 5   under “Federal consumer financial law,” 12 U.S.C. § 5565(a)(1), presents a federal question,

 6   28 U.S.C. § 1331, and is brought by an agency of the United States, 28 U.S.C. § 1345.

 7                                                VENUE

 8          3.      Venue is proper in this district because Defendants do business here and a

 9   substantial part of events or omissions giving rise to the claims occurred here. 28 U.S.C.

10   § 1391(b); 12 U.S.C. § 5564(f).

11                                 INTRADISTRICT ASSIGNMENT

12          4.      Assignment to the San Francisco Division or the Oakland Division is proper

13   because Defendants have advertised and sold their products and services to consumers who

14   reside in the counties in these divisions, as well as consumers nationwide.

15                                               PARTIES

16          5.      The Bureau is an independent agency of the United States charged with

17   regulating the offering and provision of consumer financial products and services under federal

18   consumer financial law. 12 U.S.C. § 5491(a). It has independent litigating authority to enforce

19   the CFPA and federal consumer financial laws, 12 U.S.C. § 5564, as well as the authority to

20   enforce the TSR with respect to the offering or provision of a consumer financial product or

21   service subject to the CFPA. 15 U.S.C. § 6105(d).

22          6.      Defendant Nationwide Biweekly Administration, Inc. (“Nationwide”) is an Ohio

23   corporation based in Xenia, Ohio. Nationwide acts as a custodian of consumer funds and

24   transmits funds from consumers to their mortgage lenders or servicers, which is a consumer

25   financial product or service covered by the CFPA. 12 U.S.C. § 5481(5), (15)(A)(iv). Nationwide

26   is a “covered person” under the CFPA. 12 U.S.C. § 5481(6). Nationwide is a “seller” and

27   “telemarketer” under the TSR. 16 C.F.R. § 310.2(aa), (cc).

28

                                                     2
     Complaint
                  Case 3:15-cv-02106-RS Document 1 Filed 05/11/15 Page 3 of 14


 1          7.       Defendant Loan Payment Administration LLC (“LPA”) is a wholly owned

 2   subsidiary of Nationwide. It engages in offering Nationwide’s services and also provides

 3   material services to Nationwide in connection with the offering or provision of a consumer

 4   financial product or service covered by the CFPA. LPA is a “covered person” under the CFPA.

 5   12 U.S.C. § 5481(6), (26)(A).

 6          8.       Defendant Daniel S. Lipsky (“Lipsky”) is the founder, president, sole officer, and

 7   sole owner of Nationwide. He has managerial responsibility for Nationwide and LPA, and he

 8   has formulated, directed, controlled, or participated in the acts and practices of Nationwide

 9   and LPA, including the acts and practices set forth in this Complaint. Lipsky is a “related

10   person” under the CFPA. 12 U.S.C. § 5481(25)(C)(i)-(ii). As a “related person,” he is deemed a

11   “covered person” for purposes of the CFPA. 12 U.S.C. § 5481(25)(B). Lipsky is a “seller” under

12   the TSR. 16 C.F.R. § 310.2(aa).

13                                                 FACTS

14                       Nationwide and the “Interest Minimizer” Program

15          9.       Nationwide’s primary product or service is the “Interest Minimizer” (“IM”)

16   program for mortgages. Most consumers who enroll in the IM program divide their monthly

17   mortgage payment in half and remit that payment to Nationwide every two weeks. Nationwide

18   holds the funds and promises to send the consumer’s monthly payments to the mortgage

19   lender or servicer in advance of the monthly due date.

20          10.      Because there are 52 weeks in a year, consumers who make biweekly payments

21   through the IM program remit 26 payments to Nationwide each year. A typical consumer’s

22   mortgage, however, requires only 12 monthly payments. Accordingly, making 26 biweekly

23   payments results in the equivalent of an extra monthly payment each year.

24          11.      Most months, participants in the IM program will make two biweekly payments.

25   Every six months, there will be a month in which three biweekly payments will be made.

26          12.      The first time these consumers make a third biweekly payment in a month,

27   Nationwide keeps that payment, up to $995, as a setup fee.

28

                                                       3
     Complaint
              Case 3:15-cv-02106-RS Document 1 Filed 05/11/15 Page 4 of 14


 1          13.    After Nationwide collects the setup fee, Nationwide directs subsequent extra

 2   biweekly payments to the consumer’s mortgage lender or servicer to be applied against the

 3   loan principal.

 4          14.    Nationwide collects a processing fee of $3.50 with each biweekly payment. These

 5   fees amount to $91.00 per consumer each year.

 6          15.    Some consumers in the IM program make weekly payments. These consumers

 7   divide their monthly mortgage payment into quarters and remit one quarter to Nationwide

 8   every week. Most months, these consumers will make four weekly payments. Every three

 9   months, there will be a month in which five weekly payments are made.

10          16.    The first two times these consumers make a fifth weekly payment in a month,

11   Nationwide keeps those payments, up to $995, as a setup fee.

12          17.    The processing fee for each weekly payment is $1.95. These fees amount to

13   $101.40 per consumer each year.

14          18.    Some consumers in the IM program make semi-monthly payments. The amount

15   of an extra monthly payment is divided among the 24 semi-monthly debits, and Nationwide

16   keeps as a setup fee the extra funds collected in the first six months.

17          19.    The processing fee for each semi-monthly payment is $3.50. These fees amount

18   to $84.00 per consumer each year.

19          20.    From August 2011 until September 2014, Nationwide collected approximately

20   $49 million in setup fees from consumers who enrolled in the IM program for their primary

21   mortgage. During the same period, more than 100,000 consumers enrolled in the IM program

22   for their primary mortgage.

23          21.    According to Nationwide, approximately 10,000 California residents are enrolled

24   in the IM program.

25           Advertising and Telemarketing for the Interest Minimizer Program

26          22.    Nationwide primarily advertises the IM program by sending direct mail

27   solicitations to consumers who have recently purchased homes or refinanced their mortgage

28   loans. For each mortgage, Nationwide obtains the consumer’s name, the address of the

                                                      4
     Complaint
                 Case 3:15-cv-02106-RS Document 1 Filed 05/11/15 Page 5 of 14


 1   property, the amount of the mortgage, and the name of the mortgage originator from data

 2   sources that compile publicly available real estate information. In many of Nationwide’s direct

 3   mail solicitations, Nationwide includes the amount of the consumer’s mortgage and the name

 4   of the consumer’s mortgage originator.

 5          23.     Between January 2012 and July 2014, Nationwide sent more than 33.5 million

 6   mailers to consumers across the United States, including 5.2 million to consumers in

 7   California. It sends mailers both under its own name and under the name of LPA.

 8          24.     Nationwide also advertises via several websites, including interestminimizer.com,

 9   which feature numerous videos of Lipsky explaining Nationwide’s IM program.

10          25.     In September 2014, a paid infomercial advertising Nationwide’s IM program,

11   featuring Lipsky, was aired on Lifetime television across the United States. This infomercial

12   also appears on Nationwide’s website.

13          26.     Nationwide’s marketing, including mailers sent under LPA’s name, directs

14   consumers to call Nationwide’s call center to learn more about the program. Consumers who

15   call Nationwide’s call center speak to a Nationwide sales representative who uses a

16   telemarketing sales script. Nationwide directs its sales representatives to follow the script word

17   for word.

18          27.     In mailers, sales scripts, and other marketing materials Nationwide distributes to

19   consumers, and in mailers LPA distributes to consumers, Nationwide and LPA represent to

20   consumers that Nationwide is a consumer advocate that is acting in their interest.

21                    Defendants’ Representations About Consumer Savings

22          28.     In mailers, sales scripts, and other marketing materials Nationwide distributes to

23   consumers, and in mailers LPA distributes to consumers, Nationwide and LPA misrepresent

24   the savings consumers will purportedly achieve under the IM program.

25          29.     In mailers, sales scripts, and other marketing materials Nationwide distributes to

26   consumers, and in mailers LPA distributes to consumers, Nationwide and LPA guarantee that

27   consumers will save money. For example, many mailers state: “Am I guaranteed to save

28   money? Yes! We provide a 100% SAVINGS GUARANTEE.”

                                                     5
     Complaint
              Case 3:15-cv-02106-RS Document 1 Filed 05/11/15 Page 6 of 14


 1          30.    Some Nationwide and LPA mailers, using the consumer’s actual loan amount and

 2   a sample interest rate, claim consumers will achieve “Monthly Interest Savings” and total

 3   “Interest Savings” of specific amounts.

 4          31.    In reality, consumers will not begin to save the “Monthly Interest Savings”

 5   amount upon enrollment. Rather, the “Monthly Interest Savings” Nationwide and LPA promise

 6   are an average over the life of the loan, assuming the consumer stays in the program until the

 7   mortgage is paid off.

 8          32.    Other Nationwide communications to consumers expressly or impliedly

 9   represent that consumers will achieve immediate interest savings by enrolling in the IM

10   program. For example, the company sends contract documents to consumers with cover emails

11   containing statements like “soon you will be . . . saving thousands of dollars in unnecessary

12   payments.”

13          33.    In reality, consumers who enroll will not “soon” be saving thousands of dollars.

14   For the first several years of consumers’ enrollment in the IM program, typical consumers pay

15   more in fees to Nationwide than they save through the program, and they will not save the

16   “monthly” amounts promised by Nationwide until they are nearly halfway through their loan

17   term. Most of the promised savings will not be realized until the last years of the loan.

18          34.    According to Nationwide, in 2013, the median consumer using the IM program

19   for a thirty-year fixed-rate mortgage had a mortgage loan of $160,204 and an interest rate of

20   4.125%. A biweekly consumer in the IM program with those loan terms will not save enough to

21   recoup the fees she has paid Nationwide until she is nine years into the program. By that point,

22   she will have paid more than $1,200 in fees to Nationwide. A biweekly consumer in the IM

23   program with those loan terms will not realize “Monthly Interest Savings” of the type

24   advertised by Nationwide until she has been enrolled in the program for approximately 14

25   years. She will not realize half of the total savings Defendants promise until she has been

26   enrolled for more than 20 years.

27
28

                                                     6
     Complaint
              Case 3:15-cv-02106-RS Document 1 Filed 05/11/15 Page 7 of 14


 1          35.    A substantial number of consumers will not stay in the program long enough to

 2   achieve any savings. Only 25% of the consumers enrolled in the IM program on December 31,

 3   2014, had been enrolled for longer than four years.

 4          36.    In mailers, sales scripts, and other marketing materials Nationwide distributes to

 5   consumers, and in mailers LPA distributes to consumers, Nationwide and LPA misrepresent

 6   the aggregate amount Nationwide’s customers have saved. For example, in Nationwide’s

 7   Lifetime infomercial aired in 2014, Lipsky claimed, “last year alone we helped our customers

 8   eliminate over $161 million in interest charges.”

 9          37.    Nationwide’s customers did not save $161 million in interest charges in 2013.

10      Defendants’ Representations That Consumers Will Achieve Savings Without

11                                            Paying More

12          38.    In mailers and other marketing materials Nationwide distributes to consumers,

13   and in mailers LPA distributes to consumers, Nationwide and LPA falsely claim that

14   consumers enrolled in the IM program will achieve savings without paying more.

15          39.    For example, one Nationwide mailer claims that “you do not increase your

16   monthly payment” and that savings are realized “without increasing the amount of your

17   monthly payment.” In one video on Nationwide’s website, Lipsky states, “you’re not increasing

18   your payment. You’re just switching to a smaller biweekly or weekly amount.”

19          40.    In fact, consumers enrolled in the IM program increase their monthly payment

20   by paying processing fees for each debit to Nationwide and by making additional biweekly

21   payments that Nationwide either collects as a setup fee or remits to the consumer’s mortgage

22   lender or servicer.

23     Defendants’ Representations That Consumers Cannot Achieve Similar Savings

24                                     Without the IM Program

25          41.    Nationwide falsely represents that consumers cannot achieve the same savings

26   without the IM program, by telling consumers that their mortgage lenders or servicers will not

27   accept biweekly payments directly from consumers and that they will fail if they attempt to

28   make additional principal payments on their own.

                                                     7
     Complaint
               Case 3:15-cv-02106-RS Document 1 Filed 05/11/15 Page 8 of 14


 1           42.   In telemarketing calls, when consumers ask Nationwide’s sales representatives if

 2   they can pay biweekly to their servicers on their own, Nationwide’s sales scripts require the

 3   representative to respond, “No, lenders require mortgages to be remitted monthly and will not

 4   accept a biweekly payment.”

 5           43.   For some consumers, this representation is false; some mortgage lenders and

 6   servicers accept biweekly payments directly from consumers.

 7           44.   All consumers can also achieve the same interest savings promised by the IM

 8   program on their own, simply by making an extra principal payment, in the amount of their

 9   monthly mortgage payment, annually to their mortgage lender or servicer.

10           45.   In mailers, sales scripts, and other marketing materials Nationwide distributes to

11   consumers, and in mailers LPA distributes to consumers, Nationwide and LPA tell consumers

12   that they will fail to make extra principal payments on their own, based on a survey

13   purportedly finding that former Nationwide consumers who tried to make extra payments on

14   their own had “a 99% failure rate.”

15           46.   The actual results of this survey, which was conducted by Nationwide’s customer

16   service department, do not support the assertion that former Nationwide consumers who tried

17   to make extra payments on their own had a 99% failure rate.

18    Defendants’ Representations and Omissions About the Cost of the IM Program

19           47.   In mailers and other marketing materials Nationwide distributes to consumers,

20   and in mailers LPA distributes to consumers, Nationwide and LPA falsely claim that

21   consumers’ extra payments every year “are directed 100% to the principal of the loan.”

22           48.   This statement is false, because Nationwide keeps consumers’ first extra payment

23   (up to $995) as the setup fee. Nationwide does not direct this payment to the principal of the

24   loan.

25           49.   Nationwide’s and LPA’s mailers generally do not mention a setup fee. Nationwide

26   does not disclose the existence of the setup fee on the portions of Nationwide’s website that

27   explain how the program works or in the Lifetime infomercial aired in September 2014 and

28   posted on Nationwide’s website.

                                                     8
     Complaint
               Case 3:15-cv-02106-RS Document 1 Filed 05/11/15 Page 9 of 14


 1          50.    When consumers ask Nationwide’s sales representatives how much the IM

 2   program costs, some of Nationwide’s scripts direct the sales representative to redirect the

 3   consumer. Other scripts instruct sales representatives to mention the setup fee only if

 4   consumers “persist to ask about fees.”

 5          51.    Nationwide’s telemarketing sales scripts do not directly state the dollar amount

 6   of the setup fee.

 7     Defendants’ Representation of Affiliation with Mortgage Servicers or Lenders

 8          52.    In mailers Nationwide and LPA distribute to consumers, and during phone calls

 9   consumers make to Nationwide’s call center, Nationwide and LPA expressly or impliedly

10   misrepresent that Nationwide is affiliated with consumers’ mortgage lenders or servicers.

11          53.    Nationwide is not affiliated with any mortgage lender or servicer.

12          54.    When consumers who call Nationwide’s call center ask if Nationwide is affiliated

13   with their mortgage lenders or servicers, Nationwide’s sales scripts misrepresent Nationwide’s

14   affiliation with consumers’ mortgage lenders or servicers. For example, in one script, when

15   consumers ask, “Do you work with/affiliated with my lender?” sales representatives were

16   instructed, “Do NOT say ‘No’” – when the accurate answer is “No.”

17          55.    When consumers who call Nationwide’s call center ask if Nationwide is affiliated

18   with their mortgage lenders or servicers, Nationwide’s sales scripts direct its sales

19   representatives to tell consumers that Nationwide has a “working relationship” with their

20   mortgage lenders or servicers.

21          56.    In fact, this “working relationship” consists solely of Nationwide’s submitting

22   consumers’ payments to their mortgage lenders and servicers, without any agreement with or

23   involvement by the mortgage lenders or servicers.

24                                               COUNT I

25                                (Against Nationwide and Lipsky)

26                        Abusive Acts or Practices in Violation the CFPA

27          57.    The allegations in paragraphs 1-56 are incorporated here by reference.

28

                                                      9
     Complaint
             Case 3:15-cv-02106-RS Document 1 Filed 05/11/15 Page 10 of 14


 1         58.    Nationwide and Lipsky guarantee to consumers that they will save money if they

 2   enroll in the IM program.

 3         59.    During the first several years in which consumers are enrolled in the IM program,

 4   consumers will pay more in fees to Nationwide than they will save through the program.

 5         60.    Nationwide and Lipsky know that a substantial number of consumers will leave

 6   the IM program prior to saving any money.

 7         61.    Consumers are unlikely to understand that during the first several years of

 8   enrollment in the IM program, they will pay more in fees to Nationwide than they will save.

 9         62.    In numerous instances, in connection with offering or providing consumer

10   financial products or services, Nationwide and Lipsky have taken unreasonable advantage of

11   consumers’ lack of understanding of the material risks, costs, or conditions of the IM program.

12         63.    Nationwide and Lipsky’s acts and practices are abusive under the CFPA. 12 U.S.C.

13   § 5531(d)(2)(A). Because Nationwide and Lipsky are both “covered persons,” their conduct is

14   unlawful under Sections 1031(a) and 1036(a)(1) of the CFPA, 12 U.S.C. §§ 5531(a), 5536(a)(1).

15                                             COUNT II

16                                    (Against All Defendants)

17                    Deceptive Acts or Practices in Violation of the CFPA

18         64.    The allegations in paragraphs 1-63 are incorporated here by reference.

19         65.    In numerous instances, in connection with offering or providing consumer

20   financial products or services, Defendants have misrepresented, directly or by implication:

21                    a. the amount that consumers will save and when they will achieve such

22                       savings through the IM program;

23                    b. that consumers will realize savings without increasing the amount they

24                       pay each month;

25                    c. that consumers cannot achieve the same savings without the IM program;

26                    d. the amount and existence of the IM program’s setup fee; and

27                    e. that Nationwide is affiliated with consumers’ mortgage servicers or

28                       lenders.

                                                   10
     Complaint
              Case 3:15-cv-02106-RS Document 1 Filed 05/11/15 Page 11 of 14


 1          66.    Each of the representations set forth in paragraph 65 were, and are, false or

 2   misleading. Defendants’ acts and practices are deceptive under the CFPA. Because each

 3   Defendant is a “covered person,” their conduct is unlawful under Sections 1031(a) and

 4   1036(a)(1) of the CFPA. 12 U.S.C. §§ 5531(a), 5536(a)(1).

 5                                                 COUNT III

 6                                (Against Nationwide and Lipsky)

 7            Deceptive Telemarketing Acts or Practices in Violation of the TSR

 8          67.    The allegations in paragraphs 1-66 are incorporated here by reference.

 9          68.    It is a deceptive act or practice under the TSR for any seller or telemarketer to:

10                    a. before a consumer consents to pay for goods and services offered, fail to

11                        disclose truthfully and in a clear and conspicuous manner the total cost to

12                        purchase the goods or services that are the subject of the sales offer, 16

13                        C.F.R. § 310.3(a)(1)(i);

14                    b. misrepresent, directly or by implication, the total cost to purchase the

15                        goods and services that are the subject of the sales offer, 16 C.F.R.

16                        § 310.3(a)(2)(i);

17                    c. misrepresent, directly or by implication, any material aspect of the

18                        performance, efficacy, nature, or central characteristics of goods or

19                        services that are the subject of a sales offer, 16 C.F.R. § 310.3(a)(2)(iii);

20                    d. misrepresent, directly or by implication, a seller or telemarketer’s

21                        affiliation with, or endorsement or sponsorship by, any person, 16 C.F.R.

22                        § 310.3(a)(2)(vii); or

23                    e. make a false or misleading statement to induce any person to pay for

24                        goods or services. 16 C.F.R. § 310.3(a)(4).

25          69.    Nationwide is a “seller” or “telemarketer” as defined by the TSR, 16 C.F.R.

26   § 310.2(aa), (cc), because, in connection with telemarketing, it initiates or receives telephone

27   calls to or from customers, and in connection with a telemarketing transaction, it provides,

28

                                                      11
     Complaint
                 Case 3:15-cv-02106-RS Document 1 Filed 05/11/15 Page 12 of 14


 1   offers to provide, or arranges for others to provide goods or services to customers in exchange

 2   for consideration.

 3             70.   Lipsky is a “seller” as defined by the TSR, 16 C.F.R. § 310.2(aa), because, in

 4   connection with a telemarketing transaction, he arranges for Nationwide to provide goods or

 5   services to customers in exchange for consideration.

 6             71.   In numerous instances, Nationwide has:

 7                      a. before a consumer consents to pay for the IM program, failed to disclose

 8                          truthfully and in a clear and conspicuous manner the total cost of enrolling

 9                          in the IM program;

10                      b. misrepresented, directly or by implication, the total cost of enrolling in the

11                          IM program;

12                      c. misrepresented, directly or by implication, material aspects of the

13                          performance, efficacy, nature, or central characteristics of the IM program,

14                          including the amount that consumers will save, when they will achieve

15                          such savings, and that consumers will achieve savings without paying

16                          more each month;

17                      d. misrepresented, directly or by implication, that Nationwide is affiliated

18                          with consumers’ mortgage servicers or lenders; and

19                      e. made false or misleading statements to induce consumers to pay for the

20                          IM program.

21             72.   Therefore, Nationwide and Lipsky have engaged in deceptive telemarketing acts

22   and practices in violation of the TSR. 16 C.F.R. § 310.3(a)(1)(i); (a)(2)(i); (a)(2)(iii); (a)(2)(vii);

23   (a)(4).

24                                                COUNT IV

25                                  (Against Nationwide and Lipsky)

26               Deceptive Telemarketing Acts or Practices in Violation of the CFPA

27             73.   The allegations in paragraphs 1-72 are incorporated here by reference.

28

                                                       12
     Complaint
                 Case 3:15-cv-02106-RS Document 1 Filed 05/11/15 Page 13 of 14


 1          74.      15 U.S.C. § 6102(c)(2) provides that a violation of the TSR that is committed by a

 2   person subject to the CFPA shall be treated as a violation of a rule under Section 1031 of the

 3   CFPA, 12 U.S.C. § 5531, regarding unfair, deceptive, or abusive acts or practices.

 4          75.      Because Nationwide and Lipsky violated the TSR and are “covered persons”

 5   under the CFPA, they also violated Section 1031 of the CFPA. 12 U.S.C. §§ 5531(a), 5536(a).

 6                                        DEMAND FOR RELIEF

 7          WHEREFORE, the Bureau requests that the Court:

 8          a.       Permanently enjoin Defendants from committing future violations of the CFPA,

 9   12 U.S.C. §§ 5531, 5536, and the TSR, 16 C.F.R. § 310.3;

10          b.       Award such relief as the Court finds necessary to redress injury to consumers

11   resulting from Defendants’ violations of the CFPA and TSR, including, but not limited to,

12   refund of fees paid, restitution, disgorgement or compensation for unjust enrichment, and

13   payment of damages;

14          c.       Impose civil money penalties against Defendants;

15          d.       Award Plaintiff the costs of bringing this action; and

16          e.       Award other and additional relief as the Court may determine to be just and

17   proper.

18
     Dated: May 11, 2015                         Respectfully submitted,
19
                                                 ANTHONY ALEXIS
20
                                                 Enforcement Director
21
                                                 DEBORAH MORRIS
22
                                                 Deputy Enforcement Director
23
                                                 MICHAEL G. SALEMI
24
                                                 Assistant Litigation Deputy
25
26                                               ____________________
                                                 Melanie Hirsch
27
                                                 melanie.hirsch@cfpb.gov
28                                               202-435-7944

                                                       13
     Complaint
            Case 3:15-cv-02106-RS Document 1 Filed 05/11/15 Page 14 of 14

                                       Edward Keefe
 1                                     edward.keefe@cfpb.gov
 2                                     202-435-9198
                                       Enforcement Attorneys
 3
 4                                     Consumer Financial Protection Bureau
                                       1700 G Street NW
 5                                     Washington, DC 20552
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                            14
     Complaint
